Smithfield.

Good food. “Responsibly: Smithfield Food
22123 Hwy 5
Milan, MO 63556

4/28/2020

Karena Lorek

Area Director

Occupational Safety and Health Administration
Kansas City Area Office

2300 Main Street, Suite 168

Kansas City, MO 64108

RE: OSHA Activity No. 1573635
Dear Ms. Lorek,

This letter is in response to your request for information regarding OSHA Activity 1573635 received by
our facility on 4/22/20. The federal tax I.D. number for our facility is XX-XXXXXXX.

Smithfield Foods, is considered a critical infrastructure operating facility in the food and agriculture
industry, as defined by the U.S. Department of Homeland Security. As such, our workers are needed to
maintain the continuity of our processing functions. We have a number of employees who have self-
identified as feeling ill or having possibly been in contact someone who was being tested for Covid-19.
Pursuant to Smithfield COVID-19 policy, all of those employees were sent home to quarantine and only
returned to work when they had been 3 days with no fever, without the use of fever suppressants, and
at least 7 days had passed since they first had symptoms. We have no employees who have been
confirmed for Covid-19. Our facility has also had no visitors, clients or customers suspected or
confirmed to have COVID-19 at the plant.

Our facility has conducted a risk assessment (attached) with regards COVID-19 and takes into account
the control measures implemented as described in this document.

We have instituted policies and protocols that strictly follow guidance from the Centers for Disease
Control and Prevention (CDC) and OSHA. Among other things, we have taken the following steps:

- Educated employees about COVID-19 including symptoms and how to prevent spread of the
virus, including covering coughs/sneezes with a tissue or using the inside of the elbow;

- Instructed employees to stay home if sick, if they have exposure to someone diagnosed with
COVID-19, or have traveled to an area with significant infection;

- Encouraged good hygiene, including frequent and thorough hand washing and use of
alcohol based hand sanitizer, and covering coughs and sneezes.

- Personnel self-identified with potential elevated risk are allowed to work from home or stay
home with pay.

- The number of hogs harvested each day has been reduced.

- Additional time clocks have been installed.

- Carpooling has been discouraged

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We have communicated these protective measures verbally in meetings and in individual
communications. Employees receive additional reminders as they enter pre-screening each day. In
addition to verbal communications, we have signage and postings up including a message from our CEO,
Ken Sullivan, playing on our televisions in the break rooms and lobby. We also have mass texting
capabilities for employees who subscribe, to communicate changes and updates out to our employees.
COVID-19 related communication is provided in multiple languages; interpreters also are available.

Our facility has implemented health screenings for all personnel prior to entering the facility to include
temperature scans. This takes place on all shifts. We have also set up an area for secondary screening
for anyone identified with an elevated temperature at initial screening. Employees who present with
fevers during the secondary screening, or have any other COVID-19 symptoms, are sent home with
instructions to quarantine for 14 days. We have designated an area and a trained individual for each
shift as the primary contact for employees with questions, symptoms or other concerns with regards to
COVID-19. Employees who become sick while at work are sent home. In addition to the steps noted
above, we have prohibited all non-essential visitors to our facility, and those that are allowed must pass
through the same screening procedures as all of our employees.

Due to the nature of our business, washing and sanitizing hands multiple times daily is part of our pre-
existing normal required work practices, but we have reiterated and emphasized the importance of
these steps in our communications during this pandemic. We have added 110 additional hand sanitizing
stations throughout the facility. Employees are permitted to bring containers from home and fill them
with the hand sanitizer available at the plant, and additional personal hand sanitizers have been
ordered, which will be distributed.

In addition to the typical required PPE in production areas, after temperature/health screenings at the
entrance, face masks are handed out to all personnel and donned prior to entrance. The facility has also
acquired and issued clear plastic full face shields to employees and nitrile gloves and requires their use
in production and high traffic areas of the facility. Personnel taking the temperatures are protected
behind a fully enclosed plexiglass barrier, and are also required to wear face mask and a full faceshield.

All of our infection prevention management steps are monitored by management and quality assurance
personnel while non-management employees are also encouraged to monitor themselves and others.

Our production facility undergoes regular cleaning and sanitation by a third-party service contractor.
Soon after news of COVID-19 broke, we began additional cleaning and disinfecting of frequently touched
surfaces in welfare and common areas of our facility with cleaning solutions approved by the EPA for
this purpose. This additional cleaning and disinfecting is completed multiple times throughout each day,
sometimes as frequently as every two hours. Areas cleaned and disinfected outside the production
areas include:

- Countertops,

- microwave control panels,

- copy machine control panel,
- tables, sink, faucets,

- all door panels and handles
- handrails on all stairwells

- time clock control panels

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- light switch covers
- vending machine controls

In addition to routine cleaning and disinfecting the common areas, we initiated fogging in the welfare
areas of the facility each week. Prior to this process, meetings were conducted to provide information
regarding the process and chemical utilized in the process. Where possible, we have implemented
social distancing and are continuously evaluating additional social distancing measures we could take
consistent with maintaining food production as an essential business. These efforts include but are not

limited to the following;

- We have Installed 4 additional break/lunch areas in addition to our main cafeteria,

- Installed partitions on top of the lunch tables so each employee has a cubical style eating
area,

- We have erected plastic barriers between workstations in the production areas.

- Hand wash sinks in our production areas have been moved and barriers erected to maintain
social distancing.

- We have markings on the floor by time clocks and in the cafeteria to ensure social distancing

- We have limited seating in the cafeteria to ensure social distancing.

In addition to physical controls noted above, we have also staggered break times to assist employees
with maintaining social distancing. Employees self- identifying as high risk are allowed to quarantine at
home and others with jobs that allow them to do so are working from home. Our plant is operating at
full capacity so we have staggered the work schedules and also cancelled meetings that require more
than 10 employees in attendance unless 6 feet social distancing can be maintained. Attached to this
written response, is a collection of photos depicting much of what has been referenced above.

At Smithfield Foods, we are committed to the health and wellbeing of our employees. We are confident
that the measures we've taken are protecting our employees. If you have further questions, or | can be

of further assistance, please contact me.

Respectfully,

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Tim Messman Robért Trentor
General Manager Safety Manager

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